Case 4:09-cr-00043-SPF Document 675-1 Filed in USDC ND/OK on 11/18/19 Page 1 of 31

of the Government... according to any Federal Statute or the Constitution ....” As
addressed above, this assertion is incorrect.

Mr. Springer next claims that “Doc 518 is not in sompliatice with Judge Friot’s
directive dated March 15, 2013... [and that the United States’ response is]
“unresponsive and confusing.” Mr. Springer’s Motion to Strike (Doc. No. 522) at 14.
Again, Mr. Springer is in error. In the order dated March 15, 2013, the Court noted that in
271 pages of material Mr. Springer asserted 76 separate grounds for relief, many of which
“would appear to have been previously litigated and adjudicated in the underlying
criminal proceedings, or which could have been asserted in those proceedings.”
Consistent with the Court’s direction, the United States summarized Mr. Springer’s.
voluminous submissions in a ten page responsive pleading sorting Mr. Springer’s
76 grounds for relief into twenty different issue categories, with a 53-page attachment
identifying specifically where Mr. Springer’s asserted 76 separate grounds for relief had,
or had, not been raised id the underlying proceedings.’ The United States’ submission
concisely lists, with supporting record citations, those grounds for relief that should be

stricken or dismissed because they are procedurally barred.

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In his Motion to Strike, Mr. Springer asserts that he “has received no
attachments .. ..” Doc. No. 522 at 13. As indicated in the Certificate of Service, on
September 9, 2013, the United States mailed both the preliminary response and the
attachment to Mr. Springer at the Federal Correctional Institution in Big Spring, Texas.
Nevertheless, on October 9, 2013, the United States resent copies of both the preliminary
response and attachment, this time to Mr. Springer at the Federal Correctional Institution

in El] Reno, Oklahoma.

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For the reasons stated above, the United States respectfully requests that the Court
deny Mr. Springer’s Motion to Strike (Doc. No. 522).
DATED: 24 October 2013
Respectfully submitted,

DANNY C. WILLIAMS, SR.
UNITED STATES ATTORNEY

/s/ Charles A. O'Reilly
CHARLES A. O’REILLY, CBA NO. 160980
Special Assistant United States Attorney
110 West Seventh Street, Suite 300
Tulsa, Oklahoma 74119
(918) 382-2700

Case 4:09-cr-00043-SPF Document 675-1 Filed in USDC ND/OK on 11/18/19 Page 3 of 31

CERTIFICATE OF SERVICE

I hereby certify that on the 24th day of October 2013, I electronically transmitted
the foregoing document to the Clerk of Court using the ECF System for filing, and also
served the foregoing document by United States Postal Mail, to:

Lindsey Kent Springer
Defendant

FCI El Reno

Federal Correctional Institution
P.O. Box 1500

EI Reno, OK 73036

Inmate Number 02580-063.

/s/ Charles A. O'Reilly
Charles A. O’Reilly
Special Assistant United States Attorney

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EXHIBIT

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U.S. District Court
U.S. District Court for the Northern District of Oklahoma (Tulsa)
CIVIL DOCKET FOR CASE #: 4:07—mc-—00005-CVE

United States Attorneys and Clerks
Assigned to: Judge Claire V Eagan
Case in other court: PAPER DOCKET SHEET, M—74

In Re

Date Filed: 01/09/2007

United States Attorneys and Clerks represented by Allen Johnston Litchfield

United States Attorney's Office (Tulsa)
110 W 7TH ST STE 300

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TERMINATED: 10/30/20]7

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. Joseph Fitsnittin Wilson

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Case 4:09-cr-00043-SPF Document 675-1 Filed in USDC ND/OK on 11/18/19 Page 6 of 31
USDC ND/OK Case: 4:07-mc-00005-CVE_ As of: 07/09/2019 06:43 PM CDT Page 2 of 22

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918-382-2700

Fax: 918-560-7943

Email: scott.woodward@ usdoj.gov
TERMINATED: 04/20/2018

LEAD ATTORNEY

Date Filed # | Docket Text

01/08/2007 | 470 | ***Sealed Images of Unnumbered Items from Paper File (pll, Dpty Clk) (Entered:
04/12/2019)

01/08/2007 | 471 | ***Image of Paper Docket Sheet (pll, Dpty Clk) (Entered: 04/12/2019)

01/09/2007 | _1 | ***Remark: ALL PREVIOUS ENTRIES APPEAR ON M-74 PAPER DOCKET (\ml,
Dpty Clk) (Entered: 01/09/2007)

01/10/2007 2 | AFFIDAVIT of Appointment for Assistant U.S. Attorney Robert Trent Shores by
United States Attorneys and Clerks (O'Meilia, David) (Entered: 01/10/2007)

01/22/2008 3 | AFFIDAVIT of Dennis Fries, Assistant U.S. Attorney by United States Attorneys and
Clerks (O'Meilia, David) (Entered: 01/22/2008)

02/07/2008 4 | NOTICE of appointment of Brent I. Anderson as a Special Attorney to the Attorney
General by United States Attorneys and Clerks (Derrington, David) (Entered:

02/07/2008)

NOTICE of Appointment for Lanny D. Welch as a Special Attorney to the U.S.
Attorney General by United States Attorneys and Clerks (Derrington, David) (Entered:

02/07/2008)

NOTICE of Appointment of Joseph F. Wilson as a Special Attorney to the Attorney
General by United States Attorneys and Clerks (Derrington, David) (Entered:
02/08/2008) hee at

NOTICE of Appointment of Timothy H. Harris as a Special Assistant United States
Attorney for the Northern District of Oklahoma by United States Attorneys and Clerks

02/07/2008

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(Derrington, David) (Entered: 02/08/2008)

02/08/2008 8 | NOTICE of Appointment of Jeffrey A. Gallant as a Special Attorney to the United
States Attorney General by United States Attorneys and Clerks (Derrington, David)
(Entered: 02/08/2008)

05/09/2008 9 | NOTICE of Appointment Extension for Christopher Carillo by United States
Attorneys and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 10 | NOTICE of Appointment Extension for Keith A. Garner by United States Attorneys
and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 11 | NOTICE of Appointment Termination for Alexandra Gelber by United States
Attorneys and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 12 | NOTICE of Appointment for Richard Allen Gilbert Jr. by United States Attorneys and
Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 13 }|NOTICE of Appointment Extension for Linda Hicks Green by United States Attorneys
and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 14 | NOTICE of Appointment Extension for Timothy Harris by United States Attorneys
and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 15 | NOTICE of Appointment Extension for Mark J. Kingsolver by United States
Attorneys and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 16 | NOTICE of Appointment Extension for Mary F. Lin by United States Attorneys and
Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 17 | NOTICE of Appointment Extension for Michelle M. Montemayor by United States
Attorneys and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 18 | NOTICE of Appointment Extension for William J. Musseman by United States
Attorneys and Clerks (Derrington, David) (Entered: 05/09/2008)

05/09/2008 | 19 | NOTICE of Appointment Extension of Eric B. Tucker by United States Attorneys and
Clerks (Derrington, David) (Entered: 05/09/2008) _.il

05/09/2008 | 20 | NOTICE of Appointment Extension for Joseph F. Wilson by United States Attorneys
and Clerks (Derrington, David) (Entered: 05/09/2008)

05/12/2008 | 21 | AFFIDAVIT of Matthew P. Cyran by United States Attorneys and Clerks (O'Meilia,
David) (Entered: 05/12/2008)

05/29/2008 | 22 | AFFIDAVIT of Clinton J. Johnson by United States Attorneys and Clerks (O'Meilia,
David) (Entered: 05/29/2008)

06/05/2008 | 23 | NOTICE of Appointment Extension for Wyn Dee Baker by United States Attorneys
and Clerks (Derrington, David) (Entered: 06/05/2008)

06/05/2008 | 24 | NOTICE of Appointment for Neal B. Kirkpatrick by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/05/2008)

06/05/2008 | 25 | NOTICE of Appointment for Cathryn D. McClanahan by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/05/2008)

06/05/2008 | 26 | NOTICE of Nunc Pro Tunc Ratification for Richard A. Gilbert, Jr. by United States
Attorneys and Clerks (Derrington, David) (Entered: 06/05/2008)

06/06/2008 | 27 | NOTICE of Appointment for Kevin Brian Muhlendorf by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/06/2008)

06/06/2008 | 28 | NOTICE of Appointment for Katauna King by United States Attorneys and Clerks
(Derrington, David) (Entered: 06/06/2008)

06/12/2008 | 29 | AFFIDAVIT of Eric O. Johnston by United States Attorneys and Clerks (O'Meilia,
David) (Entered: 06/12/2008)

06/26/2008 | 30 | NOTICE of Appointment for Julie C. Doss by United States Attorneys and Clerks

(Derrington, David) (Entered: 06/26/2008)

_ Case 4:09-cr-00043-SPF Document 675-1 Filed in USDC ND/OK on 11/18/19 Page 8 of 31
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06/26/2008 | 31 | NOTICE of Appointment for David W. Newman by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/26/2008)

07/28/2008 | 32 | NOTICE of Appointment for Virginia Watson Keyes by United States Attorneys and
Clerks (Derrington, David) (Entered: 07/28/2008)

08/26/2008 | 33 | NOTICE of Appointment for Eric D. Poole by United States Attorneys and Clerks
(Derrington, David) (Entered: 08/26/2008)

08/26/2008 | 34 | NOTICE of Appointment for Dianne Mullins Pryor by United States Attorneys and
Clerks (Derrington, David) (Entered: 08/26/2008)

09/12/2008 | 35 | NOTICE of Appointment for Amy J. Mitchell by United States Attorneys and Clerks
(Derrington, David) (Entered: 09/12/2008)

09/12/2008 | 36 | NOTICE of Appointment for James D. Sides by United States Attorneys and Clerks
(Derrington, David) (Entered: 09/12/2008)

10/03/2008 | 37 | NOTICE of Appointment for Douglas E. Drummond by United States Attorneys and
Clerks (Derrington, David) (Entered: 10/03/2008)

11/06/2008 | 38 | NOTICE of Appointment for Scott Edward Bradford by United States Attorneys and
Clerks (Derrington, David) (Entered: 1 1/06/2008)

12/04/2008 ; 39 | NOTICE of Appointment for Katauna King by United States Attorneys and Clerks
(Derrington, David) (Entered: 12/04/2008)

12/04/2008 | 4G | NOTICE of Appointment for Kevin Brian Muhlendorf by United States Attorneys and
Clerks (Derrington, David) (Entered: 12/04/2008)

12/05/2008 | 4i | NOTICE of Appointment for Eric O. Johnston by United States Attorneys and Clerks
(Derrington, David) (Entered: 12/05/2008)

12/10/2608 | 42 | NOTICE of Appointment for Jessie H. Durham by United States Attorneys and Clerks
(Derrington, David) (Entered: 12/10/2008)

12/10/2008 | 43 | NOTICE of Appointment for Leena M. Alam by United States Attorneys and Clerks
(Derrington, David) (Entered: 12/10/2008)

01/16/2009 | 44 | NOTICE of Appointment for Charles A. O'Reilly by United States Attorneys and
Clerks (Derrington, David) (Entered: 01/16/2009)

04/01/2009 | 45 | NOTICE of appointment of Jane W. Duke (sjm, Dpty Clk) (Entered: 04/01/2009)

04/01/2009 | 46 | NOTICE appointment of Patricia Harris (sjm, Dpty Clk) (Entered: 04/01/2009)

04/20/2009 | 47 | NOTICE of Extension for SAUSA Richard A. Gilbert, Jr. by United States Attorneys
and Clerks (Derrington, David) (Entered: 04/20/2009)

04/20/2009 | 48 | NOTICE of Termination for SAUSA Michelle M. Montemayor by United States
Attorneys and Clerks (Derrington, David) (Entered: 04/20/2009)

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04/20/2009 | 50 | NOTICE of Extension for SAUSA Keith A. Garner by United States Attorneys and
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04/20/2009 | SI | NOTICE of Extension for SAUSA William J. Musseman, Jr. by United States
Attorneys and Clerks (Derrington, David) (Entered: 04/20/2009)

06/16/2009 | 52 | NOTICE of Extension for SAUSA Timothy H. Harris by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/16/2009)

06/18/2009 | 53 | NOTICE of Extension for SAUSA Christopher Carillo by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/18/2009)

06/18/2009 | 54 | NOTICE of Extension for SAUSA Linda Hicks Green-by.United States Attorneys and

Clerks (Derrington, David) (Entered: 06/18/2009)

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06/18/2009 | 55 | NOTICE of Extension for SAUSA Mary F. Lin by United States Attorneys and Clerks
(Derrington, David) (Entered: 06/18/2009)

06/18/2009 | 56 | NOTICE of Extension for SAUSA Mark J. Kingsolver by United States Attorneys and
Clerks (Derrington, David) (Entered: 06/18/2009)

06/18/2009 | 57 | NOTICE of Extension for SAUSA Eric B. Tucker by United States ADomEys and
Clerks (Derrington, David) (Entered: 06/18/2009)

07/10/2009 | 58 | NOTICE of Termination of Appointment for SAUSA Richard A. Gilbert, Jr. by United
States Attorneys and Clerks (Derrington, David) (Entered: 07/10/2009)

07/15/2009 59 | NOTICE of Extension for SAUSA Julie C. Doss by United States Attorneys and
Clerks (Derrington, David) (Entered: 07/15/2009)

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7/30/2009 | 61 | NOTICE of Extension for SAUSA Virginia W. Keyes by United States Attorneys and

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08/06/2009 | 62 | NOTICE of Termination of Appointment for SAUSA David Newman by United States
Attorneys and Clerks (Derrington, David) (Entered: 08/06/2009)

08/13/2009 63 | NOTICE of Extension for SAUSA Eric D. Poole by United States Attorneys and
Clerks (Derrington, David) (Entered: 08/13/2009)

08/17/2009 | 64 | NOTICE of Extension for SAUSA Dianne Mullins Pryor by United States Attorneys
and Clerks (Derrington, David) (Entered: 08/17/2009)

09/14/2009 | 65 | NOTICE of Extension for SAUSA James D. Sides by United States Attorneys and
Clerks (Derrington, David) (Entered: 09/14/2009)

09/21/2009 | 66 | NOTICE of Appointment for SAUSA Oneil J. Brown by United States Attorneys and
Clerks (Derrington, David) (Entered: 09/21/2009)

09/28/2009 | 67 | AFFIDAVIT of Appointment for Assistant United States Attorney Joel—lyn A.
McCormick by United States Attorneys and Clerks (Derrington, David) Modified on
9/29/2009 to change text to reflect correct event (sac, Dpty Clk). (Entered:
09/28/2009)

10/07/2009 | 68 | NOTICE of Appointment for SAUSA Michael Allen Moss by United States Attorneys
and Clerks (Derrington, David) (Entered: 10/07/2009)

10/07/2009 | 69 | NOTICE of Extension for SAUSA Douglas E. Drummond by United States Attorneys
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12/31/2009 | 70 | NOTICE of Extension for SAUSA Jessie H. Durham by United States Attorneys and
Clerks (Derrington, David) (Entered: 12/3 1/2009)

12/31/2009 | 71 | NOTICE of Extension for SAUSA Katauna King by United States Attorneys and
Clerks (Derrington, David) (Entered: 12/31/2009)

12/31/2009 | 72 | NOTICE of Extension for Special Attomey Lanny D. Welch by United States
Attorneys and Clerks (Derrington, David) (Entered: 12/3 1/2009)

12/31/2009 | 73 | NOTICE of Extension for SAUSA Kevin B. Muhlendorf by United States Attorneys
and Clerks (Derrington, David) (Entered: 12/3 1/2009)

02/22/2010 | 74 | NOTICE of Extension for SAUSA Charles A. O'Reilly by United States Attorneys and
Clerks (Derrington, David) (Entered: 02/22/2010)

02/22/2010 | 75 | NOTICE of Appointment for Special Attorney Brent 1. Anderson by United States
Attorneys and Clerks (Derrington, David) (Entered: 02/22/2010)

03/05/2010 | 76 | NOTICE of Appointment for AUSA Thomas Scott Woodward by United States
Attorneys and Clerks (s—srl, Dpty Clk) (Entered: 03/08/2010)

03/08/2010 | 77 | NOTICE of extension for SAUSA Douglas:E: Detitonnend by United-States Attorneys

and Clerks (Derrington, David) (Entered: 03/08/2010)

Case 4:09-cr-00043-SPF Document 675-1 Filed in USDC ND/OK on 11/18/19 Page 10 of 31 .
USDC ND/OK Case: 4:07-mc-00005-CVE_ As of: 07/09/2019 06:43 PM CDT Page 6 of 22

03/18/2010 | 78 | NOTICE of Extension for SAUSA Julie C. Doss by United States Attorneys and
Clerks (Derrington, David) (Entered: 03/18/2010)

03/30/2010 79 | NOTICE of Extension for SAUSA Keith A. Garner by United States Attorneys and
Clerks (Derrington, David) (Entered: 03/30/2010)

04/27/2010 | 80 | NOTICE of SAUSA extension for Christopher Carillo by United States Attorneys and
Clerks (Derrington, David) (Entered: 04/27/2010)

04/27/2010 | 81 | NOTICE of SAUSA extension for Linda Hicks Green by United States Attorneys and
Clerks (Derrington, David) (Entered: 04/27/2010)

04/27/2010 | 82 | NOTICE of SAUSA extension for Mark J. Kingsolver by United States Attorneys and
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04/27/2010 | 83 | NOTICE of SAUSA extension for Mary F. Lin by United States Attorneys and Clerks
(Derrington, David) (Entered: 04/27/2010)

04/27/2010 | 84 | NOTICE of SAUSA extension for Eric B. Tucker by United States Attorneys and
Clerks (Derrington, David) (Entered: 04/27/2010)

05/03/2010 | 86 | NOTICE of SAUSA extension for Patricia Harris by United States Attorneys and
Clerks (s—srl, Dpty Clk) (Entered: 05/10/2010)

05/03/2010 | 87 | NOTICE of SAUSA extension for Jane W Duke by United States Attorneys and
Clerks -(s—srl, Dpty Clk) (Entered: 05/10/2010)

05/10/2010 | 85 | NOTICE of extension for SAUSA Timothy H. Harris by United States Attorneys and
Clerks (Derrington, David) (Entered: 05/10/2010)

07/07/2010 | 88 | AFFIDAVIT of Ryan L. Souders by United States Attorneys and Clerks (Woodward,
Thomas) (Entered: 07/07/2010)

07/19/2010 | 89 | AFFIDAVIT of Appointment for Assistant U.S. Attorney Cheryl L. Baber by United
States Attorneys and Clerks (Woodward, Thomas) (Entered: 07/19/2010)

07/30/2010 | 90 | NOTICE of SAUSA extension for Virginia Watson Keyes by United States Attorneys
and Clerks (Derrington, David) (Entered: 07/30/2010)

09/10/2010 | 91 | NOTICE of SAUSA Extension for Oneil J. Brown by United States Attorneys and
Clerks (Derrington, David) (Entered: 09/10/2010)

09/10/2010 92 | NOTICE of SAUSA Extension for Eric D. Poole by United States Attorneys and
Clerks (Derrington, David) (Entered: 09/10/2010)

09/10/2010 | 93 | NOTICE of SAUSA Extension for Dianne Mullins Pryor by United States Attorneys
and Clerks (Derrington, David) (Entered: 09/10/2010)

09/14/2010 | 94 | NOTICE of SAUSA Extension for James D. Sides by United States Attorneys and
Clerks (Derrington, David) (Entered: 09/14/2010)

10/04/2010 | 95 | NOTICE of SAUSA Appointment for Jenelle M. Beavers by United States Attorneys
and Clerks (Derrington, David) (Entered: 10/04/2010)

10/04/2010 | 96 | NOTICE of SAUSA Appointment for Marisa Silverman by United States Attorneys
and Clerks (Derrington, David) (Entered: 10/04/2010)

10/14/2010 97 | NOTICE of SAUSA Extension for Michael Allen Moss by United States Attorneys
and Clerks (Derrington, David) (Entered: 10/14/2010)

10/25/2010 | 98 | AFFIDAVIT of Shannon M. Cozzoni by United States Attorneys and Clerks
(Woodward, Thomas) (Entered: 10/25/2010)

01/14/2011 | 99 | NOTICE of Appointment for SAUSA Earnie Joe by United States Attorneys and
Clerks (Derrington, David) (Entered: 01/14/2011)

01/14/2011 | 100 | NOTICE of Extension for SAUSA Jessie H. Durham by United States Attorneys and
Clerks (Derrington, David) (Entered: 01/14/2011)...

01/14/2011 Ol | NOTICE of Extension for SAUSA Katauna King by United States Attorneys and

Clerks (Derrington, David) (Entered: 01/14/2011)

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01/14/2011

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NOTICE of Extension for SAUSA Kevin Brian Muhlendorf by United States
Attorneys and Clerks (Derrington, David) (Entered: 01/14/2011)

01/28/2011

NOTICE of SAUSA extension for Charles A. O'Reilly by United States Attorneys and
Clerks (Derrington, David) (Entered: 01/28/2011)

02/15/2011

NOTICE of SAUSA Extension for Douglas E. Drummond by United States Attorneys
and Clerks (Derrington, David) (Entered: 02/15/2011)

04/14/2011

NOTICE of appointment of Christopher Carillo as Special Assistant United States
Attorney extended to 05/01/2012 by United States Attorneys and Clerks (McClanahan,
Cathryn) Modified on 4/15/2011 fo remove pages 2—4 as filed in error (tjc, Dpty Clk).
(Entered: 04/14/2011)

04/14/2011

NOTICE of Appointment of Keith A. Garner as Special Assistant United States
Attorney extended to 03/23/2012 by United States Attorneys and Clerks (McClanahan,
Cathryn) Modified on 4/15/2011 to remove pages 2—4 as filed in error (tjc, Dpty Clk).
(Entered: 04/14/2011)

04/14/2011

NOTICE of Appointment of Linda Hicks Green as Special Assistant United States
Attorney extended to 05/01/2012 by United States Attorneys and Clerks (McClanahan,
Cathryn) Modified on 4/15/2011 to remove pages 2—4 as filed in error (tjc, Dpty Clk).
(Entered: 04/14/2011)

04/14/2011

NOTICE of Appointment of Mary F. Lin as Special Assistant United States Attorney
extended to 05/01/2012 by United States Attorneys and Clerks (McClanahan, Cathryn)
Modified on 4/15/2011 to remove pages 24 as filed in error (tjc, Dpty Clk). (Entered:
04/14/2011)

04/14/2011

NOTICE of Appointment of Eric B. Tucker as Special Assistant United States
Attorney extended to 05/01/2012 by United States Attorneys and Clerks (McClanahan,
Cathryn) Modified on 4/15/2011 to remove pages 2—4 as filed in error (tjc, Dpty Clk).
(Entered: 04/14/2011)

05/10/2011

NOTICE of Appointment for Timothy H. Harris as a Special Attorney to the U.S.
Attorney General by United States Attorneys and Clerks (Wilson, Joseph) (Entered:
05/10/2011)

07/12/2011

NOTICE of Appointment Extension for Virginia Watson Keyes by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 07/12/2011)

07/12/201)

NOTICE of Appointment Extension for Eric D. Poole by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 07/12/2011)

07/12/2011

NOTICE of Appointment Extension for Dianne Mullins Pryor by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 07/12/2011)

07/13/2011

NOTICE of Appointment for Andrea Wyrick by United States Attorneys and Clerks
(Wilson, Joseph) (Entered: 07/13/2011)

09/12/2011

NOTICE of Appointment by United States Attorneys and Clerks (McClanahan,
Cathryn) (Entered: 09/12/2011)

09/13/2011

NOTICE of Extension by United States Attorneys and Clerks (McClanahan, Cathryn)
(Entered: 09/13/2011)

09/13/2011

NOTICE of Appointment by United States Attorneys and Clerks (McClanahan,
Cathryn) (Entered: 09/13/2011)

09/28/2011

NOTICE of Extension for SAUSA Marisa Silverman by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 09/28/2011)

09/29/2011

NOTICE of Extension of SAUSA Michael Allen Moss by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 09/29/2011)

10/07/2011

NOTICE of Extension for SAUSA Jenelle M. Beavers (Re: 95 Notice (Other) ) by
United States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/07/2011)

11/22/2011

NOTICE of SAUSA Appointment Extension for Katauna King by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 1 1/22/2011)

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of 22

11/22/2011 | 122 | NOTICE of SAUSA Appointment Extension for Earnie Joe by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 11/22/2011)

11/28/2011 | 123 | NOTICE of SAUSA Appointment Extension for Jessie H. Durham by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: | 1/28/2011)

12/20/2011 | 124 | NOTICE of SAUSA Appointment of Quentin Sanders by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 12/20/2011)

01/10/2012 | 125 | NOTICE of Appointment of Charles O'Reilly as a Special Assistant United States
Attorney by United States Attorneys and Clerks (Wilson, Joseph) (Entered:
01/10/2012)

02/03/2012 | 126 | NOTICE of SAUSA Appointment for Douglas E. Drummond by United States
Attorneys and Clerks (Wilson, Joseph) (Entered: 02/03/2012)

03/12/2012 | 127 | NOTICE of Extension of SAUSA Appointment for Keith A. Garner by United States

_ | Attorneys and Clerks (McClanahan, Cathryn) (Entered: 03/1 2/2012)

04/24/2012 | 128 | NOTICE of SAUSA Termination of Andrea Wyrick by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 04/24/2012)

04/24/2012 | 129 | NOTICE of Appointment Extension for SAUSA Eric B. Tucker by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/24/2012)

04/24/2012 | 130 | NOTICE of Appointment Extension of SAUSA Linda Hicks Green by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/24/2012)

04/24/2012 | 131 | NOTICE of Appointment Extension for SAUSA Christopher Carillo by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/24/2012)

04/24/2012 | 132 | NOTICE of Appointment Extension for SAUSA Mary F. Lin by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/24/2012)

05/07/2012 | 133 | NOTICE of SAUSA Extension for Timothy H. Harris by United States Attorneys and

, Clerks (Wilson, Joseph) (Entered: 05/07/2012)

05/23/2012 | 134 | NOTICE SAUSA Termination for Keith A. Garner by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 05/23/2012)

05/23/2012 | 135 | NOTICE SAUSA Termination for Katauna King by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 05/23/2012)

05/23/2012 | 136 | NOTICE SAUSA Termination for Mary F. Lin by United States Attorneys and Clerks
(McClanahan, Cathryn) (Entered: 05/23/2012)

05/23/2012 | 137 | NOTICE SAUSA Termination for Eric D. Poole by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 05/23/2012)

07/12/2012 | 138 | NOTICE of Appointment Extension of SAUSA Virginia Watson Keyes by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 07/12/2012)

08/02/2012 | 139 | NOTICE of Appointment Extension for SAUSA Pamela Das Koehler by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/02/2012)

08/02/2012 | 140 | NOTICE Appointment Extension of SAUSA Mark Mendola by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/02/2012)

08/02/2012 | 141 | NOTICE of Appointment Extension of SAUSA Dianne Mullins Pryor by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/02/2012)

09/10/2012 | 142 | NOTICE of Appointment Extension of SAUSA James D. Sides by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/10/2012)

09/24/2012 | 143 | NOTICE of Appointment Extension for SAUSA Jenelle M. Beavers by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/24/2012)

09/24/2012 | 144 | NOTICE of Appointment Extension of SAUSA Michael Alien Moss by. United States

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Attorneys and Clerks (McClanahan, Cathryn) (Entered! 09/24/2012)

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09/24/2012 | 145 | NOTICE of Appointment Extension of SAUSA Marisa Silverman by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/24/2012)

11/20/2012 | 146 | NOTICE SAUSA Appointment for Vicki Z. Behenna by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 1 1/20/2012)

11/20/2012 | 147 | NOTICE of SAUSA Appointment Affidavit for Vicki Z. Behenna by United States
Attorneys and Clerks (Wilson, Joseph) (Entered: | 1/20/2012)

11/26/2012 | 148 | NOTICE of SAUSA Appointment Extension of Jessie Huff Durham by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 11/26/2012)

11/26/2012 | 149 | NOTICE of SAUSA Appointment Extension of Earnie Joe by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 11/26/2012)

11/26/2012 | 150 | NOTICE of SAUSA Appointment Extension of Quentin Sanders by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 1 1/26/2012)

12/04/2012 | 151 | NOTICE of SAUSA Appointment of Eric D. Poole by United States Attorneys and
Clérks (McClanahan, Cathryn) (Entered: 12/04/2012) ‘

12/05/2012 | 152 | NOTICE of Corrected Letter of Appointment Extension of SAUSA Jessie Huff
Durham (Re: 148 Notice (Other) ) by United States Attorneys and Clerks
(McClanahan, Cathryn) (Entered: 12/05/2012)

12/28/2012 | 153 | NOTICE Special Assistant United States Attorney Appointment for Charles O'Reilly
by United States Attorneys and Clerks (Wilson, Joseph) (Entered: 12/28/2012)

12/28/2012 | 154 | NOTICE Special Assistant Attorney Appointment for Chery] Triplett by United States
Attorneys and Clerks (Wilson, Joseph) (Entered: 12/28/2012)

02/13/2013 | 155 NOTICE of SAUSA Appointment for Doug Drummond by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 02/13/2013)

03/29/2013 | 156 | NOTICE of SAUSA extension for Patricia Harris by United States Attorneys and
Clerks (sde, Dpty Clk) (Entered: 03/29/2013)

04/25/2013 | 157 | NOTICE SAUSA Appointment for Susan Brandon by United States Attorneys and

~ | Clerks (Wilson, Joseph) (Entered: 04/25/2013)

04/25/2013 | 158 | NOTICE SAUSA Appointment for Robert Guthrie by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 04/25/2013)

04/25/2013 | 159 | NOTICE SAUSA Appointment for Douglas Horn by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 04/25/2013)

04/25/2013 | 160 | NOTICE SAUSA Appointment for Melody Nelson by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 04/25/2013)

04/25/2013 | 161 | NOTICE SAUSA Appointment for Douglas Snow by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 04/25/2013)

04/26/2013 | 162 | NOTICE of Extension for SAUSA Christopher Carillo by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/26/2013)

04/26/2013 | 163 | NOTICE of Extension for SAUSA Linda Hicks Green by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/26/2013)

04/26/2013 | 164 | NOTICE of Extension for SAUSA Eric B. Tucker by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/26/2013)

05/10/2013 | 165 | NOTICE of SAUSA Appointment for Tim Harris by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/10/2013)

05/13/2013 | 166 | NOTICE of SAUSA Appointment for Julie Doss by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/13/2013)

05/23/2013 | 167

NOTICE of Appointment of SAUSA for Kendall Morrison Rees by United States
Attorneys and Clerks (McClanahan, Cathrymi(igtenedt:: 9523/2013) wiccph

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07/10/2013 | 168 | NOTICE of Extension of SAUSA Virginia Watson Keyes by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 07/10/2013)

07/23/2013 | 169 | NOTICE SAUSA Appointment for Joe Wilson for the Western District of Oklahoma
by United States Attorneys and Clerks (Wilson, Joseph) Modified on 7/25/2013 —
ENTERED IN ERROR — wrong district per filer (sac, Dpty Clk). (Entered:
07/23/2013)

08/06/2013 | 170 | NOTICE of SAUSA Appointment for Timothy W. Ogilvie by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 08/06/2013)

08/16/2013 | 171 | NOTICE of SAUSA Appointment Extension for Mark Mendola by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/16/2013)

08/28/2013 | 172 | NOTICE of SAUSA Appointment for Patrick Harris by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 08/28/2013)

08/28/2013 173 | NOTICE of SAUSA Appointment Extension for Dianne Mullins Pryor by United

, States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/28/2013)

08/30/2013 | 174 | NOTICE of SAUSA Appointment Extension of Pamela Das Koehler by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/30/2013)

09/11/2013 | 175 | NOTICE of SAUSA Appointment Extension for James D. Sides by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/11/2013)

10/02/2013 | 176 | NOTICE of extension of Appointment as Special Assistant United States Attorney by
United States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/02/2013)

10/02/2013 | 177 | NOTICE of extension of Appointment as Special Assistant United States Attorney by
United States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/02/2013)

10/02/2013 | 178 | NOTICE of extension of Appointment as Special Assistant United States Attorney by
United States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/02/2013)

10/09/2013 | 179 | NOTICE of SAUSA Appointment for Mohammed Hasan Aijaz by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/09/2013)

11/26/2013 | 180 | NOTICE SAUSA Appointment Extension for Eric D. Poole by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: | 1/26/2013)

11/27/2013 | 181 | NOTICE SAUSA Appointment for Vicki Behenna by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 11/27/2013)

12/04/2013 | 182 | NOTICE SAUSA Appointment Extension for Earnie A. Joe by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/04/2013)

12/04/2013 | 183 | NOTICE SAUSA Appointment Extension for Quentin John Sanders by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/04/2013)

12/09/2013 | 184 | NOTICE Termination of SAUSA Appointment for Vicki Behenna by United States
Attorneys and Clerks (Wilson, Joseph) (Entered: 12/09/2013)

12/09/2013 | 185 | NOTICE SAUSA Appointment Extension for Jessie Huff Durham by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/09/2013)

01/03/2014 | 186 | NOTICE SAUSA Appointment for Charles O'Reilly by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 01/03/2014)

02/05/2014 | 187 | NOTICE SAUSA Appointment for Douglas Drummond by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 02/05/2014)

03/04/2014 | 188 | NOTICE of SAUSA Appointment for Sara P. Bellamy by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 189 | NOTICE of SAUSA Appointment for Allan D. Berger by-United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 190 | NOTICE of SAUSA Appointment for Meghan Frei Berglind by United States

Attorneys and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

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03/04/2014 | 191 | NOTICE of SAUSA Appointment for Sarah V. Berry by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 192 | NOTICE of SAUSA Appointment for David I. Blower by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 193 | NOTICE of SAUSA Appointment for Laura Ridgell Boltz by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 194 | NOTICE of SAUSA Appointment for Kathryn C. Bostwick by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 195 | NOTICE of SAUSA Appointment for James L. Burgess by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 196 | NOTICE of SAUSA Appointment for Daniel E. Burrows by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 197 | NOTICE of SAUSA Appointment for Douglas A. Fletcher by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 198 | NOTICE of SAUSA Appointment for Laura H. Holland by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 199 | NOTICE of SAUSA Appointment for Michael S. Howard by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 200 | NOTICE of SAUSA Appointment for Stephanie Lynn Kiley by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 201 | NOTICE of SAUSA Appointment for Thomas H. Kraus by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 202 | NOTICE of SAUSA Appointment for Matthew M. Linton by United States Attomeys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 203 | NOTICE of SAUSA Appointment for Marianne Hardcastle by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 03/04/2014)

03/04/2014 | 204 | NOTICE of SAUSA Appointment for Jessica Milanc by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 205 | NOTICE of SAUSA Appointment for Jennifer A. Randall by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 206 | NOTICE of SAUSA Appointment for Alexess D. Rea by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 207 | NOTICE of SAUSA Appointment for Noah M. Schabacker by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 208 | NOTICE of SAUSA Appointment for Michael A. Thomas by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 209 | NOTICE of SAUSA Appointment for Chad M. Troop by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 210 | NOTICE of SAUSA Appointment for Christina J. Valerio by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 211 | NOTICE of SAUSA Appointment for M. Thayne Warner by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 212 | NOTICE of SAUSA Appointment for Kirsten A. Westerland by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 213 | NOTICE of SAUSA Appointment for Pamela M. Wood by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

03/04/2014 | 214 | NOTICE of SAUSA Appointment for Sandra T. Krider by United States Attorneys

and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)

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03/04/2014 | 215 | NOTICE of SAUSA Appointment for Dorrelyn K. Dietrich by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 03/04/2014)
04/28/2014 | 216 | NOTICE Letter terminating Matthew M. Linton as a SAUSA by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/28/2014)
04/28/2014 | 217 | NOTICE Letter terminating Virginia Watson Keyes as a SAUSA by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/28/2014)
+ 05/02/2014 | 218 | NOTICE of SAUSA Appointment Extension for Christopher Carillo by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/02/2014)
05/02/2014 | 219 | NOTICE of SAUSA Appointment Extension for Linda Hicks Green by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/02/2014)
05/02/2014 | 220 | NOTICE of SAUSA Appointment Extension for Eric B. Tucker by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/02/2014)
05/05/2014 | 221 | NOTICE SAUSA Appointment for Julie Doss by United States Attorneys and Clerks:
(Wilson, Joseph) (Entered: 05/05/2014)
05/05/2014 | 222 | NOTICE SAUSA Appointment for Timothy Harris by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/05/2014)
05/05/2014 | 223 | NOTICE SAUSA Appointment for Susan Brandon by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/05/2014)
05/05/2014 | 224 | NOTICE SAUSA Appointment for Robert Guthrie by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/05/2014)
05/05/2014 | 225 | NOTICE SAUSA Appointment for Douglas Horn by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/05/2014)
05/05/2014 | 226 | NOTICE SAUSA Appointment for Melody Nelson by United States Attorneys and
lerks (Wilson, Joseph) (Entered: 05/05/2014)
05/05/2014 | 227 | NOTICE SAUSA Appointment for Douglas Snow by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/05/2014)
05/19/2014 | 228 | NOTICE of Extension of SAUSA Appointment of Kendall Morrison Rees by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/19/2014)
07/09/2014 | 229 | NOTICE of SAUSA Appointment for John C. Hanley by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 07/09/2014)
08/12/2014 | 230 | NOTICE of Termination of SAUSA Appointment of Quentin John Sanders by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/12/2014)
08/14/2014 | 231 | NOTICE of Appointment Extension of SAUSA Mark Mendola by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/14/2014)
08/26/2014 | 232 | NOTICE of SAUSA Appointment Extension for Dianne Mullins Pryor by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/26/2014)
08/29/2014 | 233 | NOTICE of SAUSA Appointment Extension for Pamela Das Koehler by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/29/2014)
09/12/2014 | 234 | NOTICE of SAUSA Appointment Extension for James D. Sides by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/12/2014)
09/25/2014 | 235 | NOTICE of SAUSA Appointment Extension for Mohammed Hasan Aijaz by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/25/2014)
09/30/2014 | 236 | NOTICE of SAUSA Appointment Extension for Jenelle M. Beavers by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/30/2014)
09/30/2014 | 237 | NOTICE of SAUSA Appointment Extension for Michael Allen Moss by United States
Attorneys and Clerks (McClanahan, Cathryn}. (Enteresk: 09/30/2014)
09/30/2014 | 238 | NOTICE of SAUSA Appointment Extension of Marisa Silverman by United States

Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/30/2014)

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10/07/2014

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NOTICE of Amended SAUSA Appointment for Marianne Hardcastle by United States

| Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/07/2014)

11/07/2014

NOTICE of SAUSA Appointment for Sara E. Hill by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 11/07/2014)

11/07/2014

NOTICE of SAUSA Appointment for Jeff S. Jones by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 1 1/07/2014)

11/07/2014

NOTICE of SAUSA Appointment for Paul H. Wilkening by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 11/07/2014)

11/17/2014

NOTICE of SAUSA Appointment for Keeya M. Jeffrey by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 11/17/2014)

11/18/2014

NOTICE of SAUSA Appointment Extension for Eric D. Poole by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 11/18/2014)

12/02/2014 | 245 | NOTICE of SAUSA Appointment Extension for Earnie A. Joe by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/02/2014)

12/08/2014 | 246 | NOTICE of SAUSA Appointment Extension for Jessie Huff Durham by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/08/2014)

02/11/2015 | 247 | NOTICE of SAUSA Appointment Extension for Sara Bellamy by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 248 | NOTICE SAUSA Appointment Extension for Allan D. Berger by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 249 | NOTICE SAUSA Appointment Extension for Meghan Frei Berglind by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 250 | NOTICE of SAUSA Appointment Extension for Sarah V. Berry by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 251 | NOTICE of SAUSA Appointment Extension for David I. Blower by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/1 1/2015)

02/11/2015 | 252 | NOTICE of SAUSA Appointment Extension for Laura Ridgell Boltz by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/1 1/2015)

02/11/2015 | 253 | NOTICE of SAUSA Appointment Extension for Kathryn C. Bostwick by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/1 1/2015)

02/11/2015 | 254 | NOTICE of SAUSA Appointment Extension for James L. Burgess by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 255 | NOTICE of SAUSA Appointment Extension for Daniel E. Burrows by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 256 | NOTICE of SAUSA Appointment Extension for Dorrelyn K. Dietrich by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/1 1/2015)

02/11/2015 | 257 | NOTICE of SAUSA Appointment Extension for Douglas A. Fletcher by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 258 | NOTICE of SAUSA Appointment Extension for Laura H. Holland by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 259 | NOTICE of SAUSA Appointment Extension for Stephanie Lynn Fishkin Kiley by
United States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 260 | NOTICE of SAUSA Appointment Extension for Thomas H. Kraus by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 261 | NOTICE of SAUSA Appointment Extension for Sandra T. Krider by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

02/11/2015 | 262 | NOTICE of SAUSA Appointment Extension for Jessica Milano by United States

Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)

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NEVOR Cason dO me OOOO EE Ae ORO SFSU OBES Bee Bah eIS BF 9
02/11/2015 | 263 | NOTICE of SAUSA Appointment Extension for Jennifer A. Randall by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 | 264 | NOTICE of SAUSA Appointment Extension for Alexess Rea by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 | 265 | NOTICE of SAUSA Appointment Extension for Noah Schabacker by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 | 266 | NOTICE of SAUSA Appointment Extension for Michael A. Thomas by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 | 267 | NOTICE of SAUSA Appointment Extension for Chad M. Troop by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 | 268 | NOTICE of SAUSA Appointment Extension for Christina J. Valerio by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 :| 269 | NOTICE of SAUSA Appointment Extension for M. Thayne Warner by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/11/2015 | 270 | NOTICE of SAUSA Appointment Extension for Kirsten A. Westerland by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/1 1/2015)
02/11/2015 | 271 | NOTICE of SAUSA Appointment Extension for Pamela M. Wood by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2015)
02/12/2015 | 272 | NOTICE of SAUSA Appointment Extension for Michael S. Howard by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/12/2015)
04/07/2015 | 273 | NOTICE of SAUSA Appointment Extension for Robert G. Guthrie by United States
Attorneys and Clerks (sdc, Dpty Clk) (Entered: 04/08/2015)
04/13/2015 | 274 | NOTICE of SAUSA Appointment Letter for Alexandria Polk by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/13/2015)
04/13/2015 | 275 ; NOTICE of SAUSA Appointment Letter for Jason R. Chester by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/13/2015)
05/05/2015 | 276 | NOTICE of SAUSA Appointment for Julie C. Doss by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 05/05/2015)
05/13/2015 | 277 | NOTICE of SAUSA Appointment Extension for Christopher Carillo by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/13/2015)
05/13/2015 | 278 | NOTICE of SAUSA Appointment Extension for Linda Hicks Green by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/13/2015)
06/12/2015 | 279 | NOTICE of SAUSA Appointment for Robert Samuel Boughner by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 06/12/2015)
07/13/2015 | 280 |} NOTICE SAUSA Appointment for John C. Hanley by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 07/13/2015)
09/03/2015 | 281 | NOTICE of SAUSA Appointment for Julie C. Doss by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 09/03/2015)
09/09/2015 | 282 | NOTICE of SAUSA Appointment for Jenelle Beavers by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 09/09/2015)
09/22/2015 | 283 | NOTICE SAUSA Appointment for Lars J. Nelson by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 09/22/2015)
11/02/2015 | 284 | NOTICE of Extension of SAUSA Appointment for Keeyan M. Jeffrey by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 11/02/2015)
11/06/2015 | 285 | NOTICE of SAUSA Appointment for Sara E. Hill by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: | 1/06/2015) i
11/06/2015 | 286 | NOTICE of SAUSA Appointment for Richard W. Pruett by United States Attorneys

and Clerks (McClanahan, Cathryn) (Entered: | 1/06/2015)

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11/06/2015

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NOTICE of SAUSA Appointment for Melissa Schuenenman by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 11/06/2015)

11/10/2015

NOTICE of SAUSA Appointment for Jeff Jones by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 1 1/10/2015)

12/09/2015

NOTICE of Extension of SAUSA Appointment for Earnie A. Joe by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/09/2015)

01/12/2016

NOTICE of SAUSA Appointment for Charles A. O'Reilly by United States Attomeys
and Clerks (Wilson, Joseph) (Entered: 01/12/2016)

01/28/2016

NOTICE Extension of SAUSA Appointment for Sara Bellamy by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Meghan Berglind by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

| NOTICE of Extension of SAUSA Appointment for Sarah Berry by United States _

Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for David Blower by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Kathryn Bostwick by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for James Burgess by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Danie] Burrows by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Laura Holland by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016) -

01/28/2016

NOTICE of Extension of SAUSA Appointment for Michael Howard by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Stephanie Kiley by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Sandra Krider by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Jessica Milano by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Noah Schabacker by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Chad Troop by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Christina Valerio by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Thayne Warner by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

01/28/2016

NOTICE of Extension of SAUSA Appointment for Kirsten Westerland by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 01/28/2016)

02/11/2016

NOTICE of Extension of SAUSA Appointment for Allen Berger by United States
Attomeys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/1 1/2016

NOTICE of Extension of SAUSA Appointment for Laura Boltz by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/1 1/2016

NOTICE of Extension of SAUSA Appointment for Dorrelyn Dietrich by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

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USDC ND/OK Case: 4:07-mc-00005-CVE_ As of: 07/09/2019 06:43 PM CDT Page

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02/11/2016 | 311 | NOTICE of Extension of SAUSA Appointment for Douglas Fletcher by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/11/2016 | 312 | NOTICE of Extension of SAUSA Appointment for Thomas Kraus by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/11/2016 | 313 | NOTICE of Extension of SAUSA Appointment for Jennifer Randall by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/11/2016 | 314 | NOTICE of Extension of SAUSA Appointment for Alexess Rea by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/11/2016 | 315 | NOTICE of Extension of SAUSA Appointment for Michael Thomas by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

02/11/2016 | 316 | NOTICE of Extension of SAUSA Appointment for Pamela Wood by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/11/2016)

04/08/2016 | 317 | NOTICE 0f Termination of SAUSA Appointment for Pamela Koehler by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/08/2016)

04/08/2016 | 318 | NOTICE of Termination of SAUSA Appointment for Dianne Pryor by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/08/2016)

04/21/2016 | 319 | NOTICE of Extension of SAUSA Appointment for Jason Chester by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/21/2016)

04/21/2016 | 320 | NOTICE of Extension of SAUSA Appointment for Alexandria Tramel by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/21/2016)

04/22/2016 | 321 | NOTICE of Extension of SAUSA Appointment for Christopher Carillo by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/22/2016)

04/22/2016 | 322 | NOTICE of Extension of SAUSA Appointment for Linda Green by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 04/22/2016)

04/28/2016 | 323 | NOTICE of SAUSA Appointment for Kyle Kickhaefer by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/28/2016)

04/28/2016 | 324 | NOTICE of SAUSA Appointment for Danielle Pedderson by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 04/28/2016)

04/28/2016 | 325 | NOTICE of SAUSA Appointment for Narissa Webber by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/28/2016)

07/27/2016 | 326 | NOTICE of Extension of SAUSA Appointment for Mark Mendola by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 07/27/2016)

07/29/2016 | 327 | NOTICE of SAUSA Appointment for Loretta F. Radford by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 07/29/2016)

07/29/2016 | 328 | NOTICE of SAUSA Appointment for Charles M. McLoughlin by United States
Attomeys and Clerks (Wilson, Joseph) (Entered: 07/29/2016)

07/29/2016 | 329 | NOTICE of SAUSA Appointment for Joseph F. Wilson by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 07/29/2016)

07/29/2016 | 330 | NOTICE of SAUSA Appointment for Kevin C. Leitch by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 07/29/2016)

08/19/2016 | 331 | NOTICE of Extension of SAUSA Appointment for James D. Sides by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/19/2016)

08/19/2016 | 332 | NOTICE of Extension of SAUSA Appointment for Marisa Silverman by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 08/19/2016)

08/19/2016 | 333 | NOTICE of Extension of SAUSA Appointment for Lars J. Nelson by United States
Attorneys and Clerks (McClanahan, Cathryn).(entered: 08/ 19/2016)

08/26/2016 | 334 | NOTICE of SAUSA Appointment for Shannon L. Henson by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 08/26/2016)

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09/15/2016 | 335 | NOTICE of SAUSA Extension for Julie Doss by United States Attorneys and Clerks
(Wilson, Joseph) (Entered: 09/15/2016)

09/28/2016 | 336 | NOTICE of SAUSA Appointment for Michael Cooper by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 09/28/2016)

10/17/2016 | 337 | NOTICE of SAUSA Appointment for Brian C. Baak by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 10/17/2016)

10/24/2016 | 338 | NOTICE of SAUSA Appointment for John Hanley by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 10/24/2016)

10/25/2016 | 339 | NOTICE of Extension of SAUSA Appointment for Keeya M. Jeffrey by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 10/25/2016)

11/02/2016 | 340 | NOTICE of SAUSA Appointment for Steven W. Martyn by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 11/62/2016)

11/07/2016 | 341 | NOTICE of SAUSA Appointment for Jeff Jones by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: | 1/07/2016)

12/07/2016 | 342 | NOTICE of Termination of SAUSA Appointment for Lars J. Nelson by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 12/07/2016)

12/22/2016 | 343 | NOTICE of SAUSA Appointment for Charles O'Reilly by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 12/22/2016)

01/23/2017 | 344 | NOTICE of SAUSA Early Termination for Robert Samuel Boughner by United States
Attomeys and Clerks (Wilson, Joseph) (Entered: 01/23/2017)

02/03/2017 | 345 | NOTICE of Extension of SAUSA Appointment for Sara Bellamy by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 346 | NOTICE of Extension of SAUSA Appointment for Allen D. Berger by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 347 | NOTICE of Extension of SAUSA Appointment for Meghan Frei Berglind by United

States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017

NOTICE of Extension of SAUSA Appointment for Sarah V. Berry by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 349 | NOTICE of Extension of SAUSA Appointment for David I. Blower by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 350 | NOTICE of Extension of SAUSA Appointment for Kathryn C. Bostwick by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 351 | NOTICE of Extension of SAUSA Appointment for Laura Ridgell Boltz by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 352 | NOTICE of Extension of SAUSA Appointment for James L. Burgess by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 353 | NOTICE of Extension of SAUSA Appointment for Daniel E. Burrows by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 354 | NOTICE of Extension of SAUSA Appointment for Dorrelyn K. Dietrich by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 355 | NOTICE of Extension of SAUSA Appointment for Douglas A. Fletcher by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 356 | NOTICE of Extension of SAUSA Appointment for Laura H. Holland by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 357 | NOTICE of Extension of SAUSA Appointment for Stephanie Kiley by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 358 | NOTICE of Extension of SAUSA Appointment for THoittas H. Kraus by United States’

Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

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02/03/2017 | 359 | NOTICE of Extension of SAUSA Appointment for Sandra T. Krider by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 360 | NOTICE of Extension of SAUSA Appointment for Jessica Milano by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 361 | NOTICE of Extension of SAUSA Appointment for Jennifer A. Randall by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 362 | NOTICE of Extension of SAUSA Appointment for Alexess D. Rea by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 363 | NOTICE of Extension of SAUSA Appointment for Noah Schabacker by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 364 | NOTICE of Extension of SAUSA Appointment for Michael A. Thomas by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 365 | NOTICE of Extension of SAUSA Appointment for Chad M. Troop by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 366 | NOTICE of Extension of SAUSA Appointment for Christina J. Valerio by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 367 | NOTICE of Extension. of SAUSA Appointment for Mark Warner by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 368 | NOTICE of Extension of SAUSA Appointment for Kristen A. Westerland by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

02/03/2017 | 369 | NOTICE of Extension of SAUSA Appointment for Pamela M. Wood by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 02/03/2017)

03/06/2017 | 370 | NOTICE SAUSA Termination for Robert Guthrie by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 03/06/2017)

03/06/2017 | 371 | NOTICE SAUSA Termination for Susan Brandon by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 03/06/2017)

04/19/2017 | 372 | NOTICE of SAUSA Appointment for Douglas A. Horn by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 04/19/2017)

04/20/2017 | 373 | NOTICE of SAUSA Appointment for Susan S. Brandon by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 04/20/2017)

04/24/2017 | 374 | NOTICE of SAUSA Appointment for Douglas A. Horn by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 04/24/2017)

05/01/2017 | 375 | NOTICE of SAUSA Appointment for Linda Hicks Green by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 05/01/2017)

05/01/2017 | 376 | NOTICE of SAUSA Appointment for Christopher Carillo by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 05/01/2017)

05/04/2017 | 377 | NOTICE of SAUSA Appointment for Eric M. Grayless by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 05/04/2017)

06/21/2017 | 378 | NOTICE of SAUSA Appointment for Anthony J. Evans by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 06/2 1/2017)

07/27/2017 | 379 | NOTICE of SAUSA Appointment for Mark Joseph Mendola by United States
Attorneys and Clerks (Wilson, Joseph) (Entered: 07/27/2017)

07/28/2017 | 380 | NOTICE of SAUSA Extension for Charles M. McLoughlin by United States
Attorneys and Clerks (Wilson, Joseph) (Entered: 07/28/2017)

07/28/2017 | 381 | NOTICE of SAUSA Extension for Loretta F. Radford by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 07/28/2017)

08/25/2017 | 382 | NOTICE of SAUSA Appointment for William M. Grady by United States Attorneys

and Clerks (Wilson, Joseph) (Entered: 08/25/2017)

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08/30/2017 | 383 | NOTICE of SAUSA Appointment for Marisa T. Silverman by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 08/30/2017)

08/30/2017 | 384 | NOTICE of SAUSA Appointment for James D. Sides by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 08/30/2017)

09/12/2017 | 385 | NOTICE of SAUSA Appointment for Michael Cooper by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 09/12/2017)

09/19/2017 | 386 | NOTICE of SAUSA Appointment for John C. Young by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 09/19/2017)

10/13/2017 | 387 | NOTICE of SAUSA Appointment for Julie C. Doss by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 10/13/2017)

10/23/2017 | 388 | NOTICE of SAUSA Appointment for Richard W. Pruett by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 10/23/2017)

10/23/2017 | 389 | NOTICE of SAUSA Appointment for Melissa C. Schuenemann by United States

, Attorneys and Clerks (Wilson, Joseph) (Entered: 10/23/2017) *

12/22/2017 | 390 | NOTICE of SAUSA Appointment for Jeff S. Jones by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 12/22/2017)

01/03/2018 | 391 | NOTICE of SAUSA Extension for Charles O'Reilly by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 01/03/2018)

01/03/2018 | 392 | NOTICE of SAUSA Appointment for Robert B. Surber by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 01/03/2018)

01/11/2018 | 393 | NOTICE of SAUSA Appointment for James J. Gelber by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 01/11/2018)

02/15/2018 | 394 | NOTICE of SAUSA Extension for Alexess Rea by United States Attorneys and Clerks
(Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 395 | NOTICE of SAUSA Extension for Chad Troop by United States Attorneys and Clerks
(Wilson, Joseph) (Entered: 02/15/2018) ]

02/15/2018 | 396 | NOTICE of SAUSA Extension for Daniel Burrows by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 397 | NOTICE of SAUSA Extension for James Burgess by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 398 | NOTICE of SAUSA Extension for Jessica Milano by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 399 | NOTICE of SAUSA Extension for Kristen Westerland by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 400 | NOTICE of SAUSA Extension for Meghan Frei Berglind by United States Attorneys
and Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 401 | NOTICE of SAUSA Extension for Noah Schabacker by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 402 | NOTICE of SAUSA Extension for Sandra Krider by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 403 | NOTICE of SAUSA Extension for Thomas Kraus by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 404 | NOTICE of SAUSA Extension for Dorrelyn Dietrich by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 405 | NOTICE of SAUSA Extension for Laura Ridgell Boltz by United States Attorneys and
Clerks (Wilson, Joseph) (Entered: 02/15/2018)

02/15/2018 | 406 | NOTICE of SAUSA Extension for Sarah Berry by’ Wirited’States Attorneys and Clerks "|

(Wilson, Joseph) (Entered: 02/15/2018)

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(810Z/ZO/PO :poraju) (UAIWIWD ‘URYyeUR|DIA) Sxs9[D
pue skowoyy sayeis pawuy Aq u9015 yoIY epuly Joj uolsua}xy WSNVS JO FOLLON

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(810Z/ZO/PO :paaqug) (uAIe_ ‘UBYeUR|OIIA)) S412]
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810Z/ZO/r0

(10Z/ZO/PO :pasaqug) (way ‘PIeyYyouT) S219
pure skawony sarig pou, Aq ATI!9¥,0 Sa}eyD Joy uoisuaixy YSNVS JO AOILON

8102/ZO/V0

(S10Z/61/E0 :Ppalaiug) (uAIIeD ‘uBYyeURTDIJA]) SY19[D pue SAaUIONY saqeI1S¢
paiun Aq SYSAVS-NOGN 4q suonsy [eloyjO jo uoneoyneYy LdN JO AOILLON

810Z/61/€0

(S1OZ/61/€0 :Posiug) (UAIYIeD ‘uBYyeURIDIIA]) SYJI[D
pue skauiony sajqeig poyiug Aq uosioppag ajjalueq 10j uolsua}xg WSN VS JO FOLLON

810C/61/€0

(S10Z/61/€0 :paajug) (UAIID “URYeUR|DIA\) S412{D
pue skowiony saqeis payuy Aq 10qqgaM BSSUBN JO] uoIsua}Xy WSN VS JO JOLLON

810C/61/E0

(S1OZ/61/€0 :poraqugq) (uAIIeD “uRYyeUR|DIA) S491
pure skawiony sazvig payiuy Aq Jojoeyyory 9[Ay 1Oj uoIsuaIXy WSN VS JO AOLLON

8102/61 /£0

(S10Z/S1/ZO :pa1aiug) (ydasos ‘uos]i) S412[D
pue sAauony SoTeIS poyup) Aq Ady giueydals 1Oj UOISU9}XF VSsn VS jo FDLLON

8TOC/ST/CO

(810Z/S1/ZO :poraqug) (ydasor “uos}!A\) S491
pue skawony sayeig payup Aq Joure AA Ye] JO} uOIsUIIXY WSN VS JO ADILLON

81OC/ST/ZO

(S10Z/S1/ZO :pos9qug) (ydasor ‘uos|I) S4491D
pue skauiony sayeig paruy Aq s0y9}9],4 sejsnog Joy uolsua}xg WSN VS JO ADILLON

810¢/S1/Z0

(810Z/S1/ZO :pasaiug) (Ydasor “uos|IA\) S127
pue skawony sais payup, Aq Awe]jog yeses 10J uolsua}xyq WSN VS JO ADILLON

810¢/S1/CO

(S10Z/S1/ZO :possuq) (ydasor “uos]I AA) SYIIID
pue sXauony saiejg payiug Aq pueyjoHx eine] 10j uoisuaixy WSNVS JO AOILON

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(S10Z/S1/ZO :posoiuy) (ydasor wos]! A) S44191D
pur skauloyy saqeis payug Aq Jomoyg plaeg JoJ uoisuaixy WSN VS JO AOILLON

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(S10Z/S1/ZO spossyuy) (ydasor *uos|!\) S449[D
pure sXauiony sayeig payuy Aq poom, ejaweg J0J uoIsua}xy WSNVS JO FOILON

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($10Z/S1/Z0 :paraiug) (ydesor ‘uosyi AA) S219
pue sKawony sarig payin Aq yormsog uAIYIeY JOJ uoIsUaIXy WSNVS JO AOLLON

8102/S1/C0

(S10Z/S1/ZO :pasaqug) (ydasor ‘uos|! MA) S199
pue skausony sayeig pauy) Aq Ouse A BUNSLIYD Joj uolsua}xg YSN VS JO FOILON

810Z/ST/ZO

(S10Z/S1/ZO ‘posaqug) (ydasor ‘uos|IM) S419[D
pue skouloyy sajeig paiug Aq sewoy,] javydyy] 10J uolsualxy WSNVS JO AOILON

810Z/S1/Z0

(810Z/S1/ZO :paiaiug) (ydasor ‘uOs|IA\) S¥9[D
pue skauiony sayeig pawuy Aq |[epuvy Jajluuar 10j uolsua}xyq WSNVS JO ADILLON

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NOTICE of SAUSA Extension for Eric Grayless by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 05/01/2018)

05/17/2018

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NOTICE of Termination of SAUSA Appointment for Jeff S. Jones by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 05/17/2018)

06/04/2018

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NOTICE of SAUSA Extension for Anthony J. Evans by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 06/04/2018)

09/06/2018

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NOTICE of SAUSA Extension for John C. Young by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 09/06/2018)

09/11/2018

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NOTICE of Extension of SAUSA Appointment for James D. Sides by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/11/2018)

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NOTICE of Extension of SAUSA Appointment for Marisa T. Silverman by United
States Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/11/2018)

09/12/2018

. NOTICE of SAUSA Appointment for Victoria V. Johnson by United States Attorneys

and Clerks (McClanahan, Cathryn) (Entered: 09/12/2018)

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NOTICE of SAUSA Appointment for Sandra B. Wick Mulvany by United States
Attorneys and Clerks (McClanahan, Cathryn) (Entered: 09/12/2018)

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NOTICE of SAUSA Extension for Brian C. Baak by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 10/01/2018)

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NOTICE of SAUSA Appointment for Andrew J. Kameros by United States Attorneys
and Clerks (Litchfield, Allen) (Entered: 10/03/2018)

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NOTICE of SAUSA Appointment for Andrew Kameros by United States Attorneys
and Clerks (Litchfield, Allen) (Entered: 16/04/2018)

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NOTICE of SAUSA Extension for Shannon L. Henson by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 10/04/2018)

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NOTICE of SAUSA Extension for Julie C. Doss by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 10/10/2018)

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NOTICE of SAUSA Extension for Steven W. Martyn by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 10/29/2018)

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NOTICE of SAUSA Appointment for Jarrod A. Leaman by United States Attomeys
and Clerks (Litchfield, Allen) (Entered: | 1/05/2018)

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NOTICE of SAUSA Extension for Robert B. Surber by United States Attorneys and
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01/30/2019

NOTICE of SAUSA Extension for Sara Bellamy by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Allen Berger by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Meghan Berglind by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Sarah Berry by United States Attorneys and Clerks
(McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for David Blower by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Laura Boltz by United States Attorneys and Clerks
(McClanahan, Cathryn) (Entered: 01/30/2019)

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Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)...

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NOTICE of SAUSA Extension for James Burgess by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Dorrelyn Dietrich by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Douglas Fletcher by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Laura Holland by United States Attorneys and
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NOTICE of SAUSA Extension for Stephanie Kiley by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Sandra Krider by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Jessica Milano by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Jennifer Randall by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Alexess Rea Smith by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Noah Schabacker by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Michael Thomas by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Chad Troop by United States Attorneys and Clerks
(McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Christina Valerio by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Marc Warner by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Kirsten Westerland by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

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NOTICE of SAUSA Extension for Pamela Wood by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 01/30/2019)

02/04/2019

NOTICE of SAUSA Extension for Joseph F. Wilson by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 02/04/2019)

04/29/2019

NOTICE of SAUSA Extension for Christopher Carillo by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/29/2019)

04/30/2019

NOTICE of SAUSA Extension for Linda Hicks Green by United States Attorneys and
Clerks (McClanahan, Cathryn) (Entered: 04/30/2019)

06/03/2019

NOTICE of SAUSA Appointment of Brett Mize by United States Attorneys and
Clerks (Litchfield, Allen) (Entered: 06/03/2019)

06/05/2019

NOTICE of SAUSA Appointment for Jonathan C. Brumer by United States Attorneys
and Clerks (McClanahan, Cathryn) (Entered: 06/05/2019)

06/10/2019

NOTICE of SAUSA Termination for Julie Doss by United States Attorneys and Clerks
(Litchfield, Allen) (Entered: 06/10/2019)

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EXHIBIT

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U.S. CIVIL SERVICE COMMISSION O7-MC- 5S

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APPOINTMENT AFFIDAVITS = MAR 5 zou

Phil Lombardi, Clerk
U.S. DISTRICT COURT

Assistant United States Attorney _September 23, 1990
(Position to which appointed) (Date of appointment)
U.S, DEPARTMENT OF JUSTICE _OFFICE OF IL.S. ATTORNEY TULSA, OKLAHOMA
(Department or agency) (Bureau or division) (Place of employment)
I, THOMAS SCOTT WOODWARD _ oe . do solemnly swear (or affirm) that—

A, OATH OF OFFICE

I will support and defend the Constitution of the United States against all enemies, foreign and
domestic; that I will bear trne faith and allegiance to the same; that I take this obligation freely,
without any mental reservation or purpose of evasion; and that I will well and faithfully discharge
the duties of the office on which Iam about.to enter. So help me God.

B, AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT

Iam not participating in any strike against the Government of the United States or any agency
thereof, and I will not so participate while an employee of the Government of the United States or
any agency thereof.

C. AFFIDAVIT AS TO PURCHASE AND SALE OF OFFICE

TI have not, nor has anyone acting in my behalf, given, transferred, promised or paid any con-
sideration for or in expectation or hope of receiving assistance in securing this appointment.

(Signature of appointee)

Subscribed and sworn (or affirmed) before me this 23 ___ day of September A.D. 1990 _,
at Tulsa oe ‘ Oklahoma
(City) (State)

[sea] ture of officer)
Commission expires_ November 29, 1990 = ———=_s—Notary Public _
(If by a Notary Public, the date of expiration (Title)

of his Commission should be shown)

NOTE.—The oath of office must be administered by a person specified. in 5 U.S.C. 2903. The words “So help me Goa”
in the oath and the word. “swear” wherever it appears above should be atricken aut awhen the appointee elects
to affirm rather than swear to the affidavits; only these words may be strickemamadonigarhen the appoinice...
clecis to affirm the affidavits.

U.S. GOVERNMENT PRINTING OFFICE : 1984 0 -— 434-152
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EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA
UNITED STATES OF AMERICA,
Plaintiff,
Case No. 09-CR-043-SPF

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY,

)
)
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)
Defendants. )
UNITED STATES’ CONSOLIDATED RESPONSE TO DEFENDANT
SPRINGER’S MOTIONS TO DISMISS (DOCS. 280, 282 AND 284)
AND MOTION TO STRIKE DOC. 276 AND 277 (DOC. 285)

nited Siates of America, by and through its attorneys, Thomas Scott Woodward,
United States Attorney for the Northern District of Oklahoma! and Kenneth P. Snoke,
Assisiant United States Attorney, and Charles A. O’Reilly, Special Assistant United States
Attorney, hereby responds in opposition to Defendant Springer’s following filings:

— Motion to Dismiss Count One for Lack of Article [ Subject Matter
Jurisdiction, Article III Jurisdiction of the Facts and Venue (Doc. 280);

- Motion to Dismiss Counts Two, Three, Four, Five and Six for Lack of Article
I{L Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and Venue
(Doc. 282);

- Motion to Dismiss Indictment for (1) Lack of Article III Standing of United
States of America, (2) Lack of Article II Case or Controversy, (3) For
Violation of Title 28, United States Code Section 547, Lacking of Subject
Matter Jurisdiction (Doc. 284); and

‘On January 21, 2010, Thomas Scott Woodward was sworn in as the Attorney
General’s appointed United States Attorney for the Northern District of Oklahoma.
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= Motion to Strike Doc. 276 and 277 (Doc. 285).

In these four motions, Defendant asserts many of the same frivolous arguments made
in previous filings, including.in Defendant’s First Motion to Dismiss Grand Jury Indictment
for Lack of Venue and supporting memorandum of law (Docs. 51 and 52), and in
Defendant’s Reply Regarding Opposition to Springer’s Motion to Dismiss (Doc. 81). These
arguments, previously rejected by the Court, include that the abolishment of the Internal
Revenue districts prevented ihe United States from prosecuting him pursuant to Title 26,
United States Code Sections 7201 and 7203. The Government has responded to Pelendast’s
previous assertions, including in Docs. 42, 71, 80, 93, 276 and 277. The Court denied
Defendant’s motion to dismiss (Doc. 51) on July 1,2009. Doc. 100. While a defendant may
raise jurisdiction at any point while the case is “pending,” Defendant has raised these
arguinents previously, and this Court has appropriately rejected them.

Defendant does raise what the United States believes may be new assertions, but these
new assertions are frivolous to the point of absurdity. These arguments include that Thomas
Scott Woodward “is not authorized to act as a United States Attorney” (Doc. 285 at 1-2), that
the United States lacks standing to bring criminal charges pursuant to Title 26 (Doc. 284 at
2), that “[t}here are no United States Attorney Offices established by law that could qualify
to be exercised outside of the District of Columbia” (Doc. 284 at 8-9), etc,

Further, to the extent Defendant’s arguments go to jurisdiction as opposed to venue

for this prosecution, Defendant’s pending motions seeking a new trial (Doc. 262) and
